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ORIGINAL                      UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

    AMERICAN BROADCASTING
    COMPANIES, INC., DISNEY
    ENTERPRISES, INC., TWENTIETH
    CENTURY FOX FILM CORPORATION,
    CBS BROADCASTING INC., CBS STUDIOS                   No. 19-cv-7136-LLS
    INC., FOX TELEVISION STATIONS, LLC,
    FOX BROADCASTING COMPANY, LLC,
    NBCUNIVERSAL MEDIA, LLC,
    UNIVERSAL TELEVISION LLC, and OPEN                        · ,.-._,;.. ,t ". •, • · , ·   '·   ..,,ii> •:··.~       -~::r ·   (!".._'


    4 BUSINESS PRODUCTIONS, LLC,                              · USD<,:_S~NY · .                                                                 _J;,c
                                                                DOCUME~-1 ,· ~                                                                          .
                   Plaintiffs,
                                                                ELEcrit~Jc~~:, ,~ -t ~:; .•
           V.                                                  .Dg(:'#: : .,.·,                        i      ;_   .             \.        .

                                                             '-DATE,:FIL~b:/ ~LHY~J ~                                                          L, ( •       '

    DA YID R. GOODFRIEND and SPORTS
    FANS COALITION NY, INC.,

                   Defendants.


                  JOINT MOTION FOR ENTRY OF CONSENT JUDGMENT
                           AND PERMANENT INJUNCTION


          WHEREAS, on July 31, 2019, Plaintiffs American Broadcasting Companies, Inc., Disney

  Enterprises, Inc., Twentieth Century Fox Film Corporation, CBS Broadcasting Inc., CBS Studios

  Inc., Fox Television Stations LLC, Fox Broadcasting Company LLC, NBCUniversal Media, LLC,

   Universal Television LLC, and Open 4 Business Productions, LLC (collectively, "Plaintiffs")

  commenced the above-captioned action asserting a claim of copyright infringement seeking an

   injunction and monetary remedies against Defendants David R. Goodfriend and Sports Fans

   Coalition NY, Inc . (" SFCNY") (collectively, "Defendants") arising from SFCNY's operation of

   Locast, a service that provides access to local broadcast signals over the Internet to consumers;

   and

          WHEREAS, on September 26, 2019, Defendants filed counterclaims against Plaintiffs; and
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       WHEREAS, on December 17, 2019, Plaintiffs and Defendants (the " Parties") entered into

the December 17, 2019 Agreement ("Case Narrowing Agreement") (ECF No. 243-2), which

places limits on the claims pursued by the Parties, and specifies that if the Court determines that

Defendants do not qualify for the exemption under 17 U.S.C . § 111 (a)(5) ("Exemption"), the

Parties agree that the Court should immediately enter a Permanent Injunction barring Defendants,

along with their officers, agents, servants, employees, attorneys, and other persons who are in

active concert or participation with Defendants or their officers, agents, servants, employees, or

attorneys (if they receive actual notice pursuant to Rule 65(d)(2) of the Federal Rules of Civil

Procedure) from operating Locast. The Case Narrowing Agreement also specifies that upon a

finding that the Exemption does not apply, the Parties will first attempt to agree on a statutory

damages award against SFCNY; and

       WHEREAS , on August 31, 2021, the Court issued an Opinion and Order on the Parties'

cross motions for summary judgment, denying Defendants' motion for summary judgment and

granting Plaintiffs ' motion for partial summary judgment based on the Court's finding that the

Exemption does not apply to the Locast service;

       WHEREAS , on September 15 , 2021, the Court entered a Permanent Injunction, ordering

that "Defendants, along with their officers, agents, servants, employees, attorneys and other

persons who are in active concert or participation with Defendants or their officers, agents,

servants, employees, or attorneys (if they receive actual notice pursuant to Rule 65( d)(2) of the

Federal Rules of Civil procedure) are permanently restrained and enjoined from operating Locast";

        WHEREAS , the Parties have agreed that Mr. Goodfriend shall be dismissed from this

action but shall remain personally bound by the terms of any and all injunctive relief previously

entered and to be entered by this Court;



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        and

       THEREFORE, the Parties stipulate and agree that this Court has jurisdiction to enter a

stipulated consent judgment and permanent injunction on the following terms and conditions and

that the Court shall have continuing jurisdiction for purposes of enforcing the stipulated consent

judgment and permanent injunction over the undersigned parties, and request that the Court enter

the attached [Proposed] Stipulated Consent Judgment and Permanent Injunction (" Stipulated

Consent Judgment and Permanent Injunction").

       IT IS SO STIPULATED.

               Respectfully submitted,

               [SIGNATURE BLOCKS ON FOLLOWING PAGE]




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       The Court hereby enters the following Stipulated Consent Judgment and Permanent

Injunction:

              STIPULATED CONSENT JUDGMENT AND PERMANENT INJUNCTION

        1.      For the purposes of this Stipulated Consent Judgment and Permanent Injunction,

the following definitions shall apply:

                 a.    "Plaintiffs" shall mean American Broadcasting Companies, Inc., Disney

                 Enterprises, Inc. , Twentieth Century Fox Film Corporation, CBS Broadcasting

                 Inc. , CBS Studios Inc., Fox Television Stations LLC, Fox Broadcasting Company

                 LLC, NBCUniversal Media, LLC, Universal Television LLC , and Open 4

                 Business Productions, LLC.

                 b.    "Litigation" shall mean the entire civil action No. l 9-cv-7136 m the

                 Southern District of New Yark.

                 c.     "Locast service" shall mean the service operated by David R. Goodfriend

                 (" Goodfriend") and Sports Fans Coalition New York ("SFCNY") that provides

                 access to local broadcast signals over the internet to consumers that is the subject

                 of the Litigation.

        2.      Plaintiffs are awarded statutory damages under the Copyright Act, 17 U.S.C.

Section 101 et seq., against SFCNY in the amount of $32 million .

        3.      Goodfriend and SFCNY, along with its officers, directors, agents, and any persons

who are in active concert or participation with Goodfriend and SFCNY (if they receive actual

notice pursuant to Rule 65(d)(2) of the Federal Rules of Civil Procedure), are PERMANENTLY

RESTRAINED AND ENJOINED from operating the Locast service.




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       4.        Goodfriend and SFCNY and the directors of SFCNY, exclusively by their consent,

are hereby PERMANENTLY RESTRAINED AND ENJOINED from operating, participating

in, assisting or aiding any retransmission service relying on or purporting to rely on Section

l l 1(a)(5) of the Copyright Act.

        5.       On September 15, 2021 , the Court entered a separate Permanent Injunction Order

(E CF No. 334). The Parties agree that the Permanent Injunction Order remains in full force and

effect until the entry of this Order.

        6.       Any person or entity found to be in violation of this Permanent Injunction shall be

subject to all applicable penalties and punishments allowed by law, including without limitation

contempt of Court. The case narrowing agreement entered by the Parties on December 17, 2019,

referenced by the Court in its earlier Order granting a permanent injunction shall not have any

effect on the penalties or punishments allowed by law for violation of this Order.

        7.       All claims, counterclaims, and defenses in this action are hereby resolved by this

Stipulated Consent Judgment and Permanent Injunction.

        8.       Defendant Goodfriend is hereby dismissed from this Litigation but remains bound

by the terms of this Permanent Injunction in his personal capacity.

        9.       All Parties shall bear their own costs.

        10.      No security shall be required with respect to the entry of any of the provisions of

this Permanent Injunction.

        11.      This Court shall retain continuing jurisdiction over the Parties and the action for

purposes of enforcing and/or adjudicating claims of violations of this Permanent Injunction . The

Parties irrevocably and fully waive and relinquish any argument that venue in or jurisdiction by

the Court is improper or inconvenient.



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SO ORDERED, this    2~ day of OJJ,.,D,,... 2021.


     Louis L. Stanton, United States District Judge




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